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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

 STATE OF ALASKA,

                Plaintiff,                           CASE NO. 3:22-cv-00103-SLG

 v.                                                  ANSWER AND AFFIRMATIVE
                                                     DEFENSES
 UNITED STATES OF AMERICA,

                Defendant.


       Pursuant to Federal Rule of Civil Procedure 8, the United States of America, by its

undersigned counsel, submits the following Answer and Affirmative Defenses to the claims and

allegations set forth in the Complaint (ECF No. 1) filed by the State of Alaska.

                      RESPONSES TO COMPLAINT ALLEGATIONS

       The paragraph numbers and headings in this Answer correspond to the paragraph

numbers and headings in Plaintiff’s Complaint. The United States does not specifically respond

to any section headings included in the Complaint, but to the extent those headings expressly or

implicitly include substantive legal or factual allegations, the United States denies those

allegations.

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                                        INTRODUCTION

       1.       The allegations in Paragraph 1 constitute Plaintiff’s characterization of its case to

which no response is required.

       2.      The allegations in Paragraph 2 are legal conclusions to which no response is

required. To the extent Paragraph 2 alleges any facts, those allegations are vague and ambiguous

such that the United States lacks sufficient knowledge or information to form a belief as to their

truth and on that basis denies those allegations.

       3.      The allegations in the first sentence of Paragraph 3 characterize Plaintiff’s reason

for bringing suit; the United States lacks sufficient knowledge or information to form a belief as

to the truth of those allegations and on that basis denies them. The allegations in the second

sentence of Paragraph 3 are legal conclusions to which no response is required. To the extent

Paragraph 3 alleges any facts about an undefined “claim,” those allegations are vague and

ambiguous such that the United States lacks sufficient knowledge or information to form a belief

as to their truth and on that basis denies those allegations. The United States admits that the State

of Alaska owns all Subject Submerged Lands within the townships conveyed to the State by the

United States, specifically T. 7 N., R. 29 W., Seward Meridian (S.M.); T. 6 N., R. 30 W., S.M.;

T. 5 N., R. 30 W., S.M.; T. 5 N., R. 31 W., S.M.; T. 6 N., R. 31 W., S.M.; T. 6 N., R. 32 W.,

S.M.

                                 JURISDICTION AND VENUE

       4.      The allegations in Paragraph 4 characterize Plaintiff’s Complaint, which speaks

for itself and is the best evidence of its contents, and purports to characterize the Quiet Title Act,

28 U.S.C. § 2409a, which speaks for itself and is the best evidence of its contents. To the extent a

response is required, the United States denies any allegation inconsistent with the Quiet Title

Act.

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       5.      The allegations in Paragraph 5 are legal conclusions to which no response is

required. To the extent Paragraph 5 alleges any facts about undefined “disputes” or “claims,”

those allegations are vague and ambiguous such that the United States lacks sufficient

knowledge or information to form a belief as to their truth and on that basis denies those

allegations. The United States admits that the State of Alaska owns all Subject Submerged Lands

within the townships conveyed to the State by the United States, specifically T. 7 N., R. 29 W.,

S.M.; T. 6 N., R. 30 W., S.M.; T. 5 N., R. 30 W., S.M.; T. 5 N., R. 31 W., S.M.; T. 6 N., R. 31

W., S.M.; T. 6 N., R. 32 W., S.M.

       6.      The allegations in the first sentence of Paragraph 6 are legal conclusions to which

no response is required. The United States admits the remaining allegations in Paragraph 6.

       7.      The allegations in Paragraph 7 are legal conclusions to which no response is

required. To the extent a response is required, the United States admits that Plaintiff State of

Alaska is a state and admits that actions brought by states are not subject to the statute of

limitations provided in 28 U.S.C. § 2409a(g), instead § 2409a(i) applies to actions brought by

states with respect to lands “other than tide or submerged lands.” The United States avers that

there are no “tide or submerged lands,” as defined by the Quiet Title Act and the Submerged

Lands Act, within T. 7 N., R. 29 W., S.M.; T. 6 N., R. 30 W., S.M.; T. 5 N., R. 30 W., S.M. See

28 U.S.C. § 2409a(l) (“For purposes of this section, the term ‘tide or submerged lands’ means

‘lands beneath navigable waters’ as defined in section 2 of the Submerged Lands Act (43 U.S.C.

1301)”); 43 U.S.C. § 1301(f) (“The term ‘lands beneath navigable waters’ does not include the

beds of streams in lands now or heretofore constituting a part of the public lands of the United

States if such streams were not meandered in connection with the public survey of such lands

under the laws of the United States and if the title to the beds of such streams was lawfully



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patented or conveyed by the United States or any State to any person)”); see also 43 U.S.C. §

1301(h) (“The term ‘person’ includes . . . a State”). Within T. 7 N., R. 29 W., S.M.; T. 6 N., R.

30 W., S.M.; T. 5 N., R. 30 W., S.M., the Chilikadtrotna was a part of the public lands of the

United States and was not meandered in connection with the public survey of those lands. Title

to the bed of the Chilikadrotna within T. 7 N., R. 29 W., S.M.; T. 6 N., R. 30 W., S.M.; T. 5 N.,

R. 30 W., S.M. was lawfully patented by the United States to the State of Alaska on October 15,

2007.

        8.     The allegations in Paragraph 8 are legal conclusions to which no response is

required.

        9.     The allegations in Paragraph 9 contain legal conclusions to which no response is

required. The United States admits the lands identified by Plaintiff in the complaint are located

within the District of Alaska.

        10.    The allegations in Paragraph 10 are legal conclusions to which no response is

required. To the extent Paragraph 10 alleges any facts about undefined “controversy,” those

allegations are vague and ambiguous such that the United States lacks sufficient knowledge or

information to form a belief as to their truth and on that basis denies those allegations. The

United States admits that the State of Alaska owns all Subject Submerged Lands within the

townships conveyed to the State by the United States, specifically T. 7 N., R. 29 W., S.M.; T. 6

N., R. 30 W., S.M.; T. 5 N., R. 30 W., S.M.; T. 5 N., R. 31 W., S.M.; T. 6 N., R. 31 W., S.M.; T.

6 N., R. 32 W., S.M.

                                             PARTIES

        11.    The allegations in the first sentence of Paragraph 11 are legal conclusions to

which no response is required. To the extent a response is required, the United States admits the

State of Alaska is a sovereign state but the remaining allegations in the first sentence of
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Paragraph 11 are vague and ambiguous such that the United States lacks sufficient knowledge or

information to form a belief as to their truth and on that basis denies the remaining allegations.

The allegations in the second sentence of Paragraph 11 characterize Plaintiff’s reasons for

bringing suit about which the United States lacks sufficient knowledge or information to form a

belief as to their truth and on that basis denies those allegations.

       12.     The United States admits that it is a sovereign nation. The remaining allegations

in Paragraph 12 are vague and ambiguous such that the United States lacks sufficient knowledge

or information to form a belief as to their truth and on that basis denies the remaining allegations.

       DESCRIPTION OF THE SUBJECT WATERS AND SUBMERGED LANDS

       13.     The United States admits the first three sentences of Paragraph 13. The fourth

sentence of Paragraph 13 characterizes Plaintiff’s Complaint and the relief Plaintiff seeks.

Accordingly, no response is required.

       14.     The United States admits the first and second sentence of Paragraph 14. The third

and fourth sentences of Paragraph 14 characterize Plaintiff’s Complaint and the relief Plaintiff

seeks. Accordingly, no response is required.

       15.     The United States admits the first through fourth sentences of Paragraph 15. The

fifth sentence of Paragraph 15 characterizes Plaintiff’s Complaint and the relief Plaintiff seeks.

Accordingly, no response is required.

       16.     The United States admits the allegations in the first clause of the first sentence of

Paragraph 16. The allegations in the second clause of the first sentence of Paragraph 16 and in

the second sentence of Paragraph 16 are contradicted by certain sources, including sources that

state the Mulchatna River is approximately 160 miles in length, and are otherwise vague and

ambiguous such that the United States lacks sufficient knowledge and information to form a

belief as to their truth; on those bases, the United States denies the allegations. The third sentence
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of Paragraph 16 characterizes Plaintiff’s Complaint and the relief Plaintiff seeks. Accordingly,

no response is required.

       17.      The allegations in Paragraph 17 are legal conclusions to which no response is

required and are further internally inconsistent. To the extent Paragraph 17 alleges any facts,

those allegations are vague and ambiguous such that the United States lacks sufficient

knowledge or information to form a belief as to their truth and on that basis denies those

allegations.

               THE STATE’S TITLE TO THE SUBJECT SUBMERGED LANDS

       18.      The allegations in Paragraph 18 are legal conclusions to which no response is

required and purport to characterize the Equal Footing Doctrine. The United States denies any

allegation inconsistent with the Equal Footing Doctrine.

       19.      The allegations in Paragraph 19 are legal conclusions to which no response is

required and purport to characterize the Submerged Lands Act of 1953 and the Alaska Statehood

Act. The United States denies any allegation inconsistent with the Submerged Lands Act of 1953

and/or the Alaska Statehood Act.

       20.      The allegations in Paragraph 20 are legal conclusions to which no response is

required. To the extent Paragraph 20 alleges any facts, those allegations are vague and

ambiguous such that the United States lacks sufficient knowledge or information to form a belief

as to their truth and on that basis denies those allegations.

       21.      The allegations in Paragraph 21 are legal conclusions to which no response is

required.

       22.      The allegations in Paragraph 22 are legal conclusions to which no response is

required. To the extent Paragraph 22 alleges any facts, those allegations are vague and

ambiguous such that the United States lacks sufficient knowledge or information to form a belief
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as to their truth and on that basis denies those allegations.

   UNITED STATES’ DETERMINATIONS OF NON-NAVIBABILITY OF SUBJECT
      WATERS AND OWNERSHIP OF THE SUBJECT SUBMERGED LANDS

       23.     The allegations in the first sentence of Paragraph 23 contain legal conclusions to

which no response is required. Regarding the factual allegations in the first sentence of Pargraph

23, the United States acknowledges that the State of Alaska owns all Subject Submerged Lands

within the townships conveyed to the State by the United States, specifically T. 7 N., R. 29 W.,

S.M.; T. 6 N., R. 30 W., S.M.; T. 5 N., R. 30 W., S.M.; T. 5 N., R. 31 W., S.M.; T. 6 N., R. 31

W., S.M.; T. 6 N., R. 32 W., S.M., and accordingly denies the allegation to the contrary; the

United States admits that neither the United States nor the BLM has ever acknowledged the

ownership of any other Subject Submerged Lands that Plaintiff claims in this lawsuit. The

allegations in the second sentence of Paragraph 23 consist of legal conclusions to which no

response is required. To the extent the second sentence of Paragraph 23 alleges any facts

regarding undefined “claim[s],” the United States admits it determined certain waters in

townships conveyed to the State of Alaska were non-navigable (Alaska now owns those

submerged lands), and any remaining allegations are vague and ambiguous such that the United

States lacks sufficient knowledge or information to form a belief as to their truth and on that

basis denies those allegations.

       24.     The United States admits that a subordinate office within the Alaska State Office

of the Bureau of Land Management (BLM) created a document dated October 18, 1983 that

contained or referred to statements regarding portions of the Chilikadrotna and Mulchatna Rivers

and Turquoise and Twin Lakes. To the extent the allegations of Paragraph 24 purport to

characterize that document, the document speaks for itself and is the best evidence of its

contents. The United States denies any allegations inconsistent with the document.


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       25.     The allegations in Paragraph 25 are legal conclusions to which no response is

required. To the extent Paragraph 25’s reference to “this erroneous BLM decision” is referring to

the document identified in Paragraph 24, the United States reiterates that the document speaks

for itself, is the best evidence of its contents, and denies any allegation inconsistent with the

document. To the extent Paragraph 25 contains any other factual allegations, those allegations

are vague and ambiguous such that the United States cannot form a belief as to their truth and on

that basis denies them.

                NAVIGABILITY OF THE SUBJECT SUBMERGED LANDS

       26.     The allegations in Paragraph 26 are legal conclusions to which no response is

required. To the extent paragraph 26 alleges any facts, those allegations are vague and

ambiguous such that the United States lacks sufficient knowledge or information to form a belief

as to their truth and on that basis denies those allegations.

       27.     The United States admits that federal employees have boated on certain portions

of the Chilikadrotna and Mulchatna Rivers and Turquoise and Twin Lakes as alleged in

Paragraph 27. The United States lacks sufficient knowledge or information to form a belief as to

the truth of the allegation that state employees have boated on certain portions of the

Chilikadrotna and Mulchatna Rivers and Turquoise and Twin Lakes as alleged in Paragraph 27

and on that basis denies those allegations.

       28.     The United States lacks sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 28 and on that basis denies those allegations.

       29.     The United States lacks sufficient knowledge or information to form a belief as to

the truth of the allegations in Paragraph 29 and on that basis denies those allegations.

       30.     The United States admits the allegations in Paragraph 30 as far as those

allegations cover portions of Turquoise Lake and the Mulchatna River. The allegations are too
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vague and ambiguous with regard to which portions for the United States to form a belief as to

their truth and to that extent the United States denies the allegations.

       31.     The United States admits the allegations in Paragraph 31 as far as those

allegations cover portions of Twin Lakes and the Chilikadrotna River. The allegations are too

vague and ambiguous with regard to which portions for the United States to form a belief as to

their truth and to that extent the United States denies the allegations.

       32.     The United States admits the allegations in Paragraph 32 as far as those

allegations cover portions of Twin Lakes and the Chilikadrotna River. The allegations are too

vague and ambiguous with regard to which portions for the United States to form a belief as to

their truth and to that extent the United States denies the allegations.

       33.     The United States denies the allegations in Paragraph 33.

       34.     The United States admits the allegations in Paragraph 34.

       35.     The United States admits the allegations in Paragraph 35.

       36.     The allegations in Paragraph 36 contain legal conclusions to which no response is

required. The allegations in Paragraph 36 are vague and ambiguous such that the United States

lacks sufficient knowledge or information to form a belief as to the truth of those allegations and

on that basis denies them.

                                      CLAIM FOR RELIEF

                         (Quiet Title for the State against United States)

       37.     The allegations in Paragraph 37 are legal conclusions to which no response is

required and purport to characterize 28 U.S.C. § 2409a. The United States denies any allegation

inconsistent with that statute.

       38.     The allegations in Paragraph 38 are legal conclusions to which no response is

required. To the extent Paragraph 38 alleges any facts, those allegations are vague and

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ambiguous such that the United States lacks sufficient knowledge or information to form a belief

as to their truth and on that basis denies those allegations.

       39.     The United States denies the allegations in Paragraph 39.

       40.     The United States denies any factual allegations of the Complaint, whether

expressed or implied, that are not expressly admitted, denied or qualified herein.

                                     PRAYER FOR RELIEF

       The remainder of the allegations in the Complaint constitute Plaintiffs’ request for relief

to which no response is required. To the extent a further response is required, the United States

denies that Plaintiffs are entitled to the relief requested or to any relief whatsoever.

       WHEREFORE, the defendant United States prays that the Court deny in all respects

plaintiff’s prayers for relief, dismiss the Complaint, enter judgment for the United States, and

grant The United States such other relief as may be appropriate.

                                   AFFIRMATIVE DEFENSES

       1.      The Court lacks subject matter jurisdiction over Plaintiff’s claims under

applicable law.

       2.      Plaintiff’s claims are barred by the statute of limitations under applicable law.

       3.      Plaintiff’s claims may be barred by the doctrine of res judiciata.

Dated: August 4, 2022


                                       Respectfully Submitted,
                                       /s/ Thomas W. Ports, Jr.
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 4th day of August, 2022 a copy of the foregoing was
served electronically via the court’s ECF system on Ronald W. Opsahl, attorney for the State of
Alaska.
                                     /s/ Thomas W. Ports, Jr.___________
                                      Thomas W. Ports, Jr.




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